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 5 Attorney for:
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 6
                                   IN THE UNITED STATES DISTRICT COURT
 7
                                       EASTERN DISTRICT OF CALIFORNIA
 8

 9
     UNITED STATES OF AMERICA,                            CASE NO. 2:17-CR-00149 TLN
10
                                     Plaintiff,           STIPULATION REGARDING EXCLUDABLE
11                                                        TIME PERIODS UNDER SPEEDY TRIAL ACT;
                              v.                          FINDINGS AND ORDER TO CONTINUE CASE
12                                                        TO 7/16/2020 AT 9:30 A.M.
     RIGOBERTO NUNEZ, and
13   OSCAR RODRIGUEZ,
                                     Defendants.
14

15                                                   STIPULATION

16          Plaintiff United States of America, by and through its counsel of record, James Conolly, and

17 Defendants Rigoberto Nunez, represented by Attorney Preciliano Martinez, Defendant Oscar Rodriguez,

18 represented by David Fischer, hereby stipulate as follows:

19          1.      By previous order, this matter was set for status on March 26, 2020.

20          2.      By this stipulation, defendants now move to continue the status conference until July 16,

21 2020, at 9:30 a.m., and to exclude time between March 26, 2020, and July 16, 2020, under Local Codes

22 T4 and M. Plaintiff does not oppose this request. The Defense continues to conduct investigation,

23 review discovery and negotiate with the Government.

24          3.      The parties agree and stipulate, and request that the Court find the following:

25                  a)       Counsel for defendants desire additional time to continue to conduct

26          investigation, and to otherwise prepare for trial. Counsel for defendants believe that failure to

27          grant the above-requested continuance would deny them the reasonable time necessary for

28          effective preparation, taking into account the exercise of due diligence. The government does

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      Time Periods Under Speedy Trial Act
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 1          not object to the continuance.

 2                  b)       Based on the above-stated findings, the ends of justice served by continuing the

 3          case as requested outweigh the interest of the public and the defendant in a trial within the

 4          original date prescribed by the Speedy Trial Act.

 5                  c)       For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161,

 6          et seq., within which trial must commence, the time period March 26, 2020, and July 16, 2020,

 7          inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv) [Local Code T4]

 8          for Mr. Nunez because it results form a continuance granted by the Court at defendants request

 9          on the basis of the Court’s finding that the ends of justice served by taking such action outweigh

10          the best interest of the public and the defendants in a speedy trial.

11                  d)       For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. §3161,

12          et seq., within which trial must commence, the time period of March 26, 2020, and July 16,

13          2020, inclusive, is deemed excludable pursuant to 18 U.S.C. §3161 (h)(3)(A) & (B) [Local Code

14          M]: unavailability of a defendant for Mr. Rodriguez.

15          4.      Nothing in this stipulation and order shall preclude a finding that other provisions of the

16 Speedy Trial Act dictate that additional time periods are excludable from the period within which a trial

17 must commence.

18          IT IS SO STIPULATED.

19 Dated: March 24, 2020                                      /s/ James Conolly
                                                              JAMES CONOLLY
20                                                            Assistant United States Attorney

21

22 Dated: March 24, 2020                                   /s/ Preciliano Martinez
                                                           PRECILIANO MARTINEZ, ESQ.
23                                                         Attorney for Rigoberto Nunez
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25
     Dated: March 24, 2020                                 /s/ David Fischer
26                                                         DAVID FISCHER, ESQ.
                                                           Attorney for Oscar Rodriguez
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 1
                                                         ORDER
 2
           IT IS SO FOUND AND ORDERED this 24th day of March, 2020.
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                                                                 Troy L. Nunley
 7                                                               United States District Judge
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